       2:17-cr-20037-JES-JEH # 80        Page 1 of 2                                       E-FILED
                                                      Friday, 18 May, 2018 03:51:51 PM
                                                          Clerk, U.S. District Court, ILCD
                     IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )
                                          )
       vs.                                )        Case No. 17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
              Defendant.                  )

         THE UNITED STATES OF AMERICA’S NOTICE OF DISCLOSURE

       NOW COMES the United States of America, by John E. Childress, United States

Attorney for the Central District of Illinois, Eugene L. Miller and Bryan D. Freres,

Assistant United States Attorneys, and James B. Nelson, Department of Justice Trial

Attorney, and hereby gives notice that, in compliance with this Court’s Order of

February 14, 2018, it has disclosed to the defendant (1) Rule 16 material and evidence

required to be disclosed under Brady and Giglio; (2) supplemental disclosure of expert

witnesses in its case-in-chief; and (3) expected evidence in support of aggravating factors.



                                              Respectfully submitted,

                                              JOHN E. CHILDRESS
                                              UNITED STATES ATTORNEY


                                              s/ Eugene L. Miller
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                              CERTIFICATE OF SERVICE

      I hereby certify that on May 18, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of the filing

to all CM/ECF participants.




                                         s/ Eugene L. Miller
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